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            IN   THE DISTRICT COURT OF THE UNITED STATES
                  FOR THE DISTRICT OF SOUTH CAROLINA
                          COLUMBIA DIVISION


UNITED STATES OF AMERICA                     Criminal No:   3: 18-312-MGT,

                  v.
                                                      PLEA AGRIIEMEIIIT

COREY DESHAIIN TAYLOR

                              G,enera1   Provisions

     rhis PLEA AGREEMENT is         made    rhis   lr&+-         or gpkee'l-
2020, between the United States of America, as represented by
United States Attorney    PETER    M. MCCOY, Jr., Assistant United States

Attorney Benjamin N. Garneri the Defendant,           COREY DESEAWN TAYLOR,

and Defendant's attorney, Katherine E. Evatt.
     fN   CONSIDERATION   of the mutual promises made herein, the
parties agree as follows:
  1. The Defendant agrees to plead guilty             to Count One of the
     Indictment now pending, which charges "Conspiracy to
     Distribute and Possess With Intent to Distribute 5 Kilograms
     or More of Cocainer" a violation of Title 21-, United States
     Code, Sections    841-   (a) (1), (b) (1) (A) , & 845. The Government

     has agreed to aLlow the Defendant to plead'guilty                    to the
     Lesser included offense, Conspiring to Distribute and Possess
     With Intent to Distribute 500 Grams or More of Cocaine, in
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    violation      of   Titte   2L, United         States Code, Sections

     B4l-(a) (1), (b) (1) (B), and846'
     fn order to sustain its burden of proof, the Government is
required to Prove the following:


                                 Count   One

     A.   The conspiracy described in the Indictment to dj-strj-bute
          thechargedamountofcontrolledsubstanceswas
          willfutly formed and was existing at or about the alleged
           time;
     B.    The defendant witlfullY             became    a member of        the

           consPiracY; and
     C,    The defendant distributed            a quantity of controlled
           substance(s) equal to, or in excess af' the amount
           charged in count l-; ag,reed to assist in the distribution
           of a quantity of controlled substance (s) equal to, or in
           excess of, the amount charged in Count L; or the
           distribution     of the threshold quantity of controlled
           substance(s)equaltororinexcessof'theamount
           charged in count 1 was reasonably foreseeable to the
           defendant and same was within                 the scope of       the

           defendant's agreement and understanding'
 The penaltY for this offense is:
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       2LU.s.c.,s8{1(a)(1),(b)(1)(B)-inaCaSeinvolving500
       grams or more of cocaine and no prior serious drug felony or
       serious violent felony convictions a minimum term of
       imprisonment of 5 years and a maximum term of imprisonment of
       40 yearsr Do probation, no parole, a fine of              $5r   000,000 and

       a term of supervised release of at least four (4) years in
       additiontoanytermofimprisonment,plusaspecial
       assessment of $l-C0.


       2L U.S.C. S 8'(I1(a) (1), (b) (1) (B) - in a case involving 500
       g.rams or more of cocaine and one or more prior serious drug

       felony or serious violent felony convictions - a minimum term
       of imprisonment of 1-O yeals and a maximum term of life
        imprisonment, no probation, no parole, a fine of $8,000r000
        and a Lerm of supervised release of at least eight (B) years
       .in addition to any term of imprisonment, plus a special
        assessment of$100.
2.      The Defendant understands and agrees that monetary penalties
        Ii.e.rspecialassessments,restitutionrfi-nesandother
        payments required under the sentencel imposed by the court
        are due immediately and subject to enforcement by the united
        States as civil judgments, pursuant to 18 U.S.C. S 361-3' The
        Defendant also understands that payments made in accordance
        with installment schedules set by the court are                     minimum
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                                                        I




  payments onlY and do not preclude the government from seeking

  to enforce the judgment against other assets of the defendant
  at any time, as provided in 18 U.S.C. SS 36L2, 3613 and
  3664 (rn)   .


  The Defendant further agrees to enter into the Bureau of
  Prisons Inmate Einancial Repayment Program if sentenced Lo a
  term of incarceration with an unsatisfied monetary penalty.
  The Defendant further understands that any monetary penalty
  imposed is not dischargeable in bankruptcy'
        A. Speci-a} Assessment: Pursuant to 18 U.S.C. s 3013,
            the Defendant must pay a special assessment of
            $100.00 for each felony count for which he is
                  convicted. This special assessment must be paid at
                  or before the tj-me of the guilty plea hearing, or
                  during participation in the Bureau of Prisons
                  Inrnate Financial Repayment Program if          this plea
                  results in incarceration
         B.       Restitutj-on: The Defendant agrees to make futl
                  restitution under 18 U.S.C. S 3556 in an amount to
                  be determined by the Court at the time of
                  sentencing, which amount is not Iimited to the
                  count(s) to which the Defendant pled guilty, but
                  wiII include restitution to each and every
                  identifiable victim       who may have been harmed by   his

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                  scheme or Pattern of criminal activity, pursuant to
                  18 U.S.C. S 3663. The Defendant agrees to cooperate
                  fulIy      with the .Government in identif ying aI1
                  victims.
            L.    Fines: The Defendant understands that the Court                 may

                  impose a fine pursuant to 18 U'S.C. ss 3571 and
                    3512.

3.     The Defendant understands that                 the obligations        of the
       Government   within the PIea Agreement are expressly contingent
       upon the Defendant's abiding by federal and state laws and
       complying with any bond executed in this case. In the event
       that the Defendant fails to comply with any of the provj-sions
       of this Agreement, either .express or implied, the                 Government

       will have the right, at its sole el-ection, to voj-d all of its
       obligations under this Agreement and the Defendant will not
       have any right         to withdraw his plea of guilty                  to the
       offense(s) enumerated herein-
                                    Cooperation

4.     The Defendant agrees to be fully truthful              and forthright     with

       federal,     state     and Iocal       law enforcement agencies                 by

       providing full,       complete and t.ruthful information about all-
       criminal     activities      about which he has knowledge.                  The

       Defendant must provide               full/       compl-ete and truthful
       debriefings about these unlawfu1 activities                    and must fu11y
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  disclose and provide truthful         information to the       Government

  includlng any books, papers, or documents or any other items
  of evidentiary val-ue to the investigation.                 The Defendant
  must also testify     fully and truthfully     before any grand juries
  and at any trials      or other proceedings if called upon to             do

  so by the Government, subject to prosecution for perjury fol
  not testifying      truthfully.     The faj-lure of the Defendant to

  be fully   truthful     and forthright     at any stage wil1, at the
  sole election of the Government, cause the obligations of the
  Government within       this Agreement to become nuII and void.
  Eurther, it is expressly agreed that if the obligatlons of
  the Govelnment wi-thin this Agreement become null and void                due

  to the lack of truthfulness on the part of the Defendant, the
  Defendant understands that:
        A.    t.he Defendant    wiII not be permitted to withdraw his
             plea of guilty to the offenses described             above,'

        B.    all additional charges         known   to the   Government may

              be filed in the appropriate district;
              the   Government      will argue for a     maximum sentence

              for the offense to which the Defendant has pleaded
              guilty;    and

        D.    the Government will use any and all- information              and

              testimony provided by the Defendant pursuant to
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                  this Agreement, or     any   prior proffer agreements, in
                  the prosecution of the Defendant of all charges-
q      The Defendant agrees      to submit to such polygraph examinations
       as may be requested by the Government and aglees that any
       such examinations shall be performed by a polygraph examiner
       selected by the Government. Defendant further agrees that
       hi/s refusal to take or his failure to pass any such polygraph
       examination to the Government's satj-sfaction will result, at
       the Government's sofe discretion, in the obligati-ons of the
       Government within the Agreement becoming nu]l and void.

6.     The Government agrees      that any self-incriminating information
       provided by the Defendant as a result of the cooperation
       required by the terms of this Agreement, although available
       to the Court, wiII not be used against the Defendant in
       determining the Defendant's .applicable guideline .range for
       sentencing pursuant to the              U.   S. Sentencing   Commission

       Guidelines. The provisions of this paragraph shall not                   be

       applied to restrict any sueh information:
             A.    known   to the   Government      prior to the date of this
                   Agreernent;

             B.    concerning the existence of prior convictions and
                   sentences i

             C.    1n a prosecution for perjury or giving a false
                   statement; or
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            D.    in the event the Defendant breaches any of the terms
                  of the Plea Agreement.
            E     used to rebut any evj-dence or arguments offered by
                  or on behalf of the Defendant (including arguments
                  made or issues raised sua sponte by the District

                  Court) at any stage of the criminal prosecution
                   (including bail, tria1, and sentencing).
7.     Provided the Defendant cooperates and otherwise cornplies with
       all the condi-tions of this PIea Agreement, the United States
       agrees to move to dismiss the remaining counts of the
       Indictment at sentencing. The Defendant understands that the
       dismissal of the remaining counts would be in lieu of a motion
       for downward departure pursuant to Section 5Kl-.1 of the
       u.s.s.G.     The Defendant understands that the Court                may

       cons1der these dismissed counts as relevant conduct pursuant
       to s1B1.3 of the united states sentencing Guidelines.
                         Merser and Other Provisions
B.     The Defendant represents to the court that he has met with
       his attorney on a sufficient number of occasions and for a
       sufficient period of time to discuss the Defendant's case and
        receive advice, that the Defendant has been truthful with his
        attorney and related alL information of which the Defendant
        is aware pertaining to the case; that the Defendant and his
        attorney. have discussed possible defenses, if dnY, to the
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      charges in the Indictment including the existence of                    any

      exculpatory or favorabLe evidence or witnesses, discussed the
      Defendant, s right to a public trial by jury or by the court,

      the right         to the assistance of counsel throughout the
      proceedings, the right to call witnesses in the Defendant's
      behalf and compe] their attendance at trial            by subpoena, the
      right        to   confront   and cross-examine the           government's

      witnesses, the Defendant's right to testify in his            own   behalf,
      or to remain si-lent and have no adverse inferences drawn from
      his     s   j-lence,' and that the Defendant, with the advice of
      counsel, has wei-ghed the relative benefiLs of a trial              by jury
      or by the Court versus a plea of guilty                pursuant to this
      Agreement, and has entered this Agreement as a matter of the
      Defendant, s free and voluntary choice, and not as a result of
      pressure or intimidation by any person-
o     The Defendant is aware that l-B u.s.c. s 3142 and 28 U.S.C. s
       2255 afford evely defendant certain rights to contest
      conviction and/or sentence. Acknowledging those rights, the
      Defendant, in exchange fox the concessions made by the
      Government in this Plea Agreement, waives the right to contest
      either the conviction or the sentence in any direct appeal or
      other post-conviction action, including any proceedings under
       28 U.S.C. S 2255. This waiver does not apply to claims of
       ineffective assistance of counsel, prosecutorial misconduct,
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      or future changes in the law that affect the defendant's
      sentence. This agreement does not affect the rights or
      obligations of the         Government      as set forth in 18 U.S.C.             S


      37   42 (b)   . Nor does it limit the      Government   in its    comments   in
      or responses to any post-sentencing matters.
10.   The Defendant waives        aII rights, whether asserted directly or
      by a representative, to reguest or receive from any department
      or agency of the United States any records pertaining to the
      investigation or prosecutj-on of this case, including without
      limitation any records that          rnay   be sought under the        Freedom

      of Information Act, 5 U.S.C. S 552, or the Privacy Act of
      L9'14, 5 U. S. C. S 552a.
11.   the parties hereby agree that this Plea Agreement contains
      the entire agreement of the parties; that this Ag'reement
      supersedes       all prior promises, representations          and statements

      of the parties; that this Agreement sha1l not be binding                     on

              until the Defendant tenders a plea of guilty to the
      any party
      court having jurisdiction over this matteri that this
      Agreement may be modified only in writing signed by al-I
      parties,' and that any and aII other promises, representations
      and statements, whether made prior to, contemporaneous with
      or after this Agreement, are nu1I and void.



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DATE
                           ATTORNEY


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                                                  STATES ATTORNEY




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